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 7
                              UNITED STATES DISTRICT COURT
 8                           EASTERN DISTRICT OF CALIFORNIA
                                  SACRAMENTO DIVISION
 9
10
                                    )             No. 2:10-CR-00364-MCE
11   UNITED STATES OF AMERICA,      )
                                    )             AMDENDED STIPULATION AND
12                       Plaintiff, )             ORDER RESETTING STATUS
13                                  )             CONFERENCE AND EXCLUDING
     v.                             )             TIME UNDER THE SPEEDY TRIAL
14                                  )             ACT
     SOHAIL AMIN,                   )
15                                  )
16                      Defendant. )              Date: February 2, 2012
                                    )             Time: 9:00 a.m.
17                                  )             Courtroom 7
                                    )             Hon. Morrison C. England
18
19          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
20   November 10, 2011 Status Conference previously continued to January 19, 2012, at
21   9:00 a.m., be set for February 2, 2012, in the same courtroom, and that the time
22   beginning November 10, 2011, and extending through February 2, 2012, should be
23   excluded from the calculation of time under the Speedy Trial Act. The parties submit
24   that the interests of justice are served by the exclusion of time, which will the
25   government additional time to provide relevant discovery and give defense counsel
26   reasonable time necessary for effective preparation, taking into account the exercise of
27   due diligence.
28
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 1                          18 USC 3161(h)(7)(a) and (b)(iv) and Local T4. Michael M. Beckwith, Assistant
 2   U.S. Attorney, and Cristina C. Arguedas, Attorney for Defendant Sohail Amin, agree to
 3   this continuance.
 4                          Defendant has in the past two weeks received twelve CD-ROM discs containing
 5   discovery, with additional discovery materials still forthcoming. As such, defense
 6   counsel defendant will need more time to prepare, which will include reviewing
 7   discovery, discussing that discovery with the defendant, considering new evidence that
 8   may affect the disposition of the case, conducting necessary legal research and
 9   investigation, and then discussing with the defendant how to proceed. The parties
10   stipulate and agree that the interests of justice served by granting this continuance
11   outweigh the best interests of the public and the defendant in a speedy trial. See 18
12   USC 3161(h)(7)(a) and (b)(iv) and Local T4 (reasonable time for preparation of
13   counsel).
14   IT IS SO STIPULATED.
15
16   DATED: November 17, 2011                         By: /s/ Cristina C. Arguedas_ ____
                                                      CRISTINA C. ARGUEDAS
17
                                                      Attorney for Defendant
18                                                    SOHAIL AMIN

19   DATED: November 17, 2011                         BENJAMIN WAGNER
                                                      United States Attorney
20
21                                                    By: /s/ Michael M. Beckwith_
                                                      MICHAEL M. BECKWITH Assistant U.S. Attorney
22
     IT IS SO ORDERED.
23
24   Dated: November 22, 2011

25                                                       __________________________________
                                                         MORRISON C. ENGLAND, JR
26                                                       UNITED STATES DISTRICT JUDGE
     DEAC_Signatur e-END:




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